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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION

__________________________________________
                                          )
IN RE:                                    )
                                          )
VALDES, PEDRO FELIPE                      )                Case No. 18-13291-BFK
ALDANA, ANA MARIA                         )                Chapter 7
                                          )
       Debtor                             )
__________________________________________)

                             RESIGNATION OF TRUSTEE

       The undersigned hereby resigns as Chapter 7 trustee in this case.

                                            Respectfully submitted,

                                            THE MEIBURGER LAW FIRM, P.C.

Dated: October 17, 2018                      By /s/ Janet M. Meiburger
                                               Janet M. Meiburger, Esq., VSB No. 31842
                                               The Meiburger Law Firm, P.C.
                                               1493 Chain Bridge Road, Suite 201
                                               McLean, Virginia 22101
                                               (703) 556-7871
                                               Chapter 7 Trustee




______________________________________
Janet M. Meiburger, VA Bar No. 31842
The Meiburger Law Firm, P.C.
1493 Chain Bridge Road, Suite 201
McLean, VA 22101
(703) 556-7871
Chapter 7 Trustee
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                                 CERTIFICATE OF SERVICE

       I HEREBY certify that on this 17th day of October, 2018, a true and correct copy of

the foregoing Resignation of Trustee will be served by ECF e-mail pursuant to the applicable

Standing Order of the Court.


                                                     /s/ Janet M. Meiburger
                                                      Janet M. Meiburger




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